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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CASE NO, 21-CR-036 (CIN)

vo

GINA MICHELLE BISEGNANO,

Defendant.

 

STATEMENT OF OFFENSE

Pursuant to Federai Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
GINA MICHELLE BISIGNANO, with the concurrence of her attorney, agree and stipulate to the
below factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the
parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S, Capitol on January 6, 2021

L. On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (the “Joint Session”) convened at the United States Capitol to certify
the vote of the Electoral College of the 2020 U.S. Presidential Election (“the Electoral Coliege
vote”). The U.S. Capitol, located at First Street, SE, in Washington, D.C., is secured 24 hours a
day by U.S. Capitol Police. The Capitol Police maintain permanent and temporary barriers to
restrict access to the Capitol exterior, and only authorized individuals with appropriate
identification are allowed inside the Capitol buiiding. On January 6, 2021, the exterior plaza of
the U.S. Capitol was closed to members of the public due to the Electoral College vote certification

proceeding.
2. The Joint Session commenced the certification process at approximately 1:00 p.m.,
with Vice President Mike Pence present and presiding in the Senate chamber. As the Joint Session
got underway, a large crowd began to gather outside of the Capitol building. Crowd members
eventually forced their way through, up, and over Capitol Police barricades and advanced to the
building’s exterior fagade. Capitol Police officers, with the assistance of officers of the District of
Columbia’s Metropolitan Police Department (MPD), attempted to maintain order and stop the
crowd from entering the Capitol building, to which the doors and windows were locked or
otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members forced entry into the
Capitol building by breaking windows, ramming open doors, and assaulting Capitol Police and
MPD officers, The crowd was not lawfully authorized to enter or remain inside the Capitol, and
no crowd member submitted to security screenings or. weapons checks by Capitol Police or other
security officials.

3. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence)—-who had withdrawn to separate chambers to resolve an
objection——were evacuated from their respective chambers. The Joint Session and the entire
official proceeding of the Congress was halted while Capitol Police and other law-enforcement
officers worked to restore order and clear the Capitol of the unlawful occupants. Later that night,
law enforcement regained control of the Capitol. At approximately 8:00 p.m., the Joint Session
reconvened, presided over by Vice President Pence, who along with legislators and staff, had
remained hidden within the Capitol building throughout these events.

4. As described more fully below, BISIGNANO participated in the January 6 attack
by unlawfully entering the Capitol building, assisted others in breaking a window that allowed for

that entry, and intended to stop or delay the Congressional proceeding.

 
Gina BISIGNANO’s Role in the January 6" Riot at the U.S, Capitol

5, BISIGNANO is a resident of Los Angeles, California. In late 2020, BISIGNANO
was a vocal supporter of then-President Donald Trump in his bid for re-election. After the 2020
Presidential election in November, BISIGNANO began to espouse rhetoric online supporting her
mistaken belief that the Presidential election had been stolen.

6. BISIGNANO traveled from Los Angeles, California to Washington, D.C. on
January 4, 2021, Between January 4, 2021 and January 5, 2021, BISIGNANO posted on Facebook
several times about her trip, including “Washington DC bound #fightfortrump”, “We are going to
Washington DC to take out country back The insurection act begins! Praise Jesus!” and “patriots
in Washington DC #StopTheSteal.”

7. On January 6, 2021, BISIGNANO attended the “Stop the Steal” rally at the Ellipse
in Washington, D.C., which was organized to protest the result of the Presidential election. At the
rally, BISIGNANO took videos of herself reacting to the speech given by then-President Donald
Trump. Specifically, when Donald Trump stated, “TI hope Mike Pence is going to do the right
thing,” BISIGNANO responded, “I hope so, he’s a deep state” and then video cuts off.

8. As the “Stop the Steal” rally was finishing, BISIGNANO joined a large crowd that
marched from the Ellipse to the Capitol, where the Joint Session to certify the Electoral College
vote was underway. During the march to the Capitol, BISIGNANO filmned herself stating, “we
are marching to the Capitol to put some pressure on Mike Pence.”

9. As BISIGNANO approached the Capito! grounds, she met up with two individuals
who she knew from Los Angeles, California. BISIGNANO filmed herself with these other
individuals from California, shouting things like “MAGA Gang!” and “gun toting patriots!” As

the group reached a low wall on the edge of the U.S. Capitol grounds, BISIGNANO yelled “let’s

 
go!” and “we are jumping the wall!” Once over the low wall, BISIGNANO filmed herself stating

“okay, we are storming the Capitol. And I’m going up in there, I’m going to break into Congress.”
Once on the U.S. Capitol grounds, BISIGNANO walked through a dense crowd of people, past
barriers that restricted access to the public, up a set of stairs on the exterior of the U.S. Capitol
building, to the area of the U.S. Capitol grounds known as the Lower West Terrace.

i0. At approximately 2:40 p.m., as legislators and their staff were being evacuated to
secure locations, BISIGNANO, along with many rioters, ran up to a tunnel on the Lower West
Terrace, which led inside the U.S, Capitol building. Capitol Police and MPD officers stationed to
secure the Capitol were forced to retreat inside. As she ascended the stairs to the tunnel,
BISIGNANO was hit with a direct shot of chemical irritants deployed by the retreating officers.
BISIGNANO joined a group of individuals who continued forward towards the Capitol entrance
and attempted to force their way inside.

11. ‘he U.S. Capitol building doors were locked, and inside the building, Capitol
Police and MPD officers wearing riot gear were preparing to meet the rioters. BISIGNANO and
other rioters attempted to force their way into the building through these doors, causing the officers
to establish a poiice line inside the entryway in order to hold the building. As the mob swelled
inside the tunnel, and officers were being assaulted, BISIGNANO climbed on a ledge inside the
tunnel, and waved other rioters into the tunnel to assist in the effort to break into the U.S. Capitol
building. The officers struggled against the crowd in the tunnel, deploying more chemical irritants
in an attempt to disperse the mob. After approximately 40 minutes of struggling with the crowd,
officers were able to clear the tunnel of rioters, including BISIGNANO, forcing them all on to the

Lower West Terrace at approximately 3:18 p.m.
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12. — After her removal from the tunnel, BISIGNANO spoke with other rioters on the
Lower West Terrace about “what Pence’s done” and how to gain entry to the U.S. Capitol building.
BISIGNANO and others were standing in front of a semi-circular window when BISIGNANO
starting shouting “break the window! Break the window!” Then, another rioter on the ledge of the
windowsill took out a small hatchet-style tool and started to hammer away at the glass of the
window, while BISIGNANO said “do it, do it!” BISIGNANO herself subsequently climbed on to
the ledge of the same windowsill. BISIGNANO then assisted a second rioter on to the ledge, who
immediately began to bang on the glass with a large object. That rioter was pulled off the
windowsill, but BISIGNANO remained. Several minutes later, BISIGNANO assisted a third rioter
up on to the windowsill, and that rioter used a fire extinguisher to smash in the glass of the window,
According to the Office of the Architect of the Capitol, the cost to repair the damaged window was
approximately $1500.

13. Once the glass on the window was broken, BISIGNANO entered the Capitol
building through the window, BISIGNANO also encouraged others to enter, waving them in and
calling them on a bullhorn she had received from another rioter. BISIGNANO shouted on the

bullhorn from the windowsill each of the following:

“They will not steal our votes!”

° “Everybody, we need gas masks! We need weapons! We need strong angry patriots
to help our boys. They don’t want to leave. We need protection.”

e “We the people are not going to take it anymore. You are not going to take away
our Trumpy Bear. You are not going to take away our votes.”

e “This ts 1776! And we the people will never give up. We will never let our country
go to the globalists.”

14. BISIGNANO obstructed, influenced, and impeded an official proceeding, that is, a

proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as

 
set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.
When BISIGNANO unlawfully entered the Capitol grounds and building, she was aware that the
Vice President was presiding over the certification of the 2020 Presidential election results.
BISIGNANO believed that by forcing entry into the Capitol, the crowd could influence, affect,
stop or delay what she believed was the Vice President’s and the Congress’s decision to certify or
not certify the election results. BISIGNANO intended to affect the government by stopping or
delaying the Congressional proceeding, and, in fact, did so. BISIGNANO accomplished this by
intimidating and coercing government personnel who were participating in or supporting the
Congressional proceeding. BISIGNANO also incorrectly believed that members of the military
were there among the crowd to stop the certification of the Electoral College vote at the direction
of then-President Donald Trump. At the time, BISIGNANO believed the 2020 Presidential
election results were fraudulent or stolen. BISIGNANO adinits that her belief that the Electoral
College results were fraudulent is not a legal justification for unlawfully entering the Capitol
building and attempting to influence, stop, or delay the Congressional proceeding.
Limited Nature of Factual Basis

15. This proffer of evidence is not intended to constitute a complete statement of all

facts known by BISIGNANO or the government. Rather, it is a limited statement of facts intended

to provide the minimal necessary factual predicate for BISIGNANO’s guilty plea.

Respectfully submitted,

CHANNING D. PHILLIPS

Acting United States Attorney
By: isf

KIMBERLY L, PASCHALL
Assistant United States Attorney

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DEFENDANTS ACCEPTANCE

] have read every word of this Statement of Offense. Pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, aller consulting with my attorney, Charles Peruto, Esq,, | agree and
stipulate to this Statement of Offense. ‘Phe Statement of Offense is a summary made for the
purpose of providing the Court with a factual basis for my guilty plea, 1 does not include alt of
the facts known to me regarding these offenses, | make this statement knowingly and voluntarily
and because 1am in fact guilty of the crime to which Lam pleading guilty.

Dated: Syl x) yo 0+ |

ATTORNEV’S ACKNOWLEDGEMENT

 

   

I have read this Factual Basis and have reviewed if with my
client's desire to adopt and stipulate to this Factual Basis.

Dated: 7 aja [
CHARLLA YA: ESQ,
Attorney for Gina Risignano
